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                                                                                                  United States Bankruptcy Court
                                                                                                       Southern District of Texas

                                                                                                          ENTERED
                               UNITED STATES BANKRUPTCY COURT                                         September 25, 2024
                                 SOUTHERN DISTRICT OF TEXAS                                            Nathan Ochsner, Clerk
                                       HOUSTON DIVISION

                                                           §
In re:                                                     § Chapter 7

ALEXANDER E. JONES,
                                                           §
                                                           § Case No. 22-33553 (CML)
                                                                                                                 1
                                                           §
                   Debtor.                                 §
                                                           §

           ORDER GRANTING TRUSTEE’S MOTION FOR ENTRY OF AN ORDER
           AUTHORIZING THE WINDDOWN OF FREE SPEECH SYSTEMS, LLC
                            [Related to Docket No. 829]

           Upon the motion (the “Motion”)1 of the Trustee for entry of an order (this “Order”),

authorizing the winddown of Free Speech Systems, LLC (“FSS”), including (i) authorizing and

approving the auction and sale of the non-cash assets of FSS free and clear of all liens, claims and

encumbrances; and (ii) granting related relief as more fully set forth in the Motion, including, but

not limited to (a) establishing certain dates and deadlines in connection with the Auctions and

(b) approving the Sale Notice, substantially in the form attached hereto as Exhibit 1; and the Court

having reviewed any evidence in support of the Motion; and the Court having reviewed the Motion

and having heard the statements in support of the relief requested therein at a hearing before the

Court (the “Hearing”); and the Court having determined that the legal and factual bases set forth

in the Motion and at the Hearing establish just cause for the relief granted herein; and any

objections to the Motion having been withdrawn with prejudice or overruled on the merits at the

Hearing; and upon all of the proceedings had before the Court; and after due deliberation and

sufficient cause appearing therefor,




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    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.



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           THE COURT HEREBY FINDS AS FOLLOWS:2

           A.       Jurisdiction and Venue. The Court has jurisdiction to consider the Motion and the

relief requested therein pursuant to 28 U.S.C. § 1334, and venue is proper before this Court

pursuant to 28 U.S.C. § 1408. This is a core proceeding pursuant to 28 U.S.C. § 157(b).

           B.       Bases for Relief. The bases for the relief requested in the Motion are sections 105,

326, 363, 503, 506, 507, and 704 of the Bankruptcy Code and Bankruptcy Rules 2002(a)(2), 6004,

9007, and 9014, and Bankruptcy Local Rule 9013-1.

           C.       Notice of the Motion. Good and sufficient notice of the Motion and the relief

sought in the Motion has been given under the circumstances, and no other or further notice is

required except as set forth herein. The notice of the Motion and of the Hearing is reasonable and

sufficient in light of the circumstances and nature of the relief requested in the Motion, and no

other or further notice of the Motion or the Hearing is necessary. A reasonable and fair opportunity

to object to the Motion and the relief granted in this Order has been afforded under the

circumstances.

           D.       Auctions and Sale. The Trustee has articulated good and sufficient reasons for

authorizing and approving the Auctions and Sales of the FSS Assets. The proposed Auctions are

fair, reasonable, and appropriate under the circumstances and designed to maximize value for the

benefit of the Debtor’s estate, FSS’s creditors, and other parties in interest. The Trustee, with the

assistance of his advisors, is engaged in a fulsome marketing and sale process to solicit and develop

the highest or otherwise best offer for the IP Assets and the Remaining Assets. The Auctions are

designed to enhance that marketing and sale process following entry of this Order. The Trustee is



2
    The findings of fact and conclusions of law herein constitute the Court’s findings of fact and conclusions of law for
    the purposes of Bankruptcy Rule 7052 made applicable pursuant to Bankruptcy Rule 9014. To the extent any
    findings of facts are conclusions of law, they are adopted as such.


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entitled to authorization to exercise and has exercised his reasonable business judgment in

connection with the Auctions and the Sales of the FSS Assets.

       E.      Payment from Sale Proceeds of Sale-Related Administrative Expenses.

Tranzon360’s Commission and Reimbursement are actual and necessary costs and expenses of

preserving the Debtor’s estate under 11 U.S.C. § 503(b)(1)(A) and should be approved and

authorized to be paid from the proceeds of the Sales upon closing. If it is later determined by this

Court that PQPR holds valid and enforceable liens on the Assets, pursuant to 11 U.S.C. § 506(c),

(i) the Commission and Reimbursement are necessary to preserve and dispose of the Assets, (ii)

the Commission and Reimbursement are reasonable, and (iii) the Commission and Reimbursement

have provided a benefit to PQPR, to the extent of its alleged liens, as a result of the services

provided by Tranzon360 to the Trustee, the Debtor’s estate and FSS.             Compensation and

reimbursement of expenses incurred by professionals employed by the Trustee in connection with

the Sales of the FSS Assets is reasonable and justified to the extent allocable, in the Trustee’s

determination, to the FSS Asset sale process, and such amounts may be credited against any

approved fees in this bankruptcy case to extent necessary to prevent double compensation for the

same work. Similarly, compensation of the Trustee on all disbursements of FSS Assets, calculated

as a commission consistent with 11 U.S.C. §326, and the reimbursement of expenses in connection

with FSS Asset sale process, is reasonable and justified, and such amounts may be credited against

any approved compensation or expenses of the Trustee from the Jones bankruptcy estate to the

extent necessary to prevent double compensation for the same disbursements.

       F.      Sale Notice. The Sale Notice is reasonably calculated to provide all interested

parties with timely and proper notice of the Auctions, including the date, time, and place of the




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Auctions (if one or more is held), and certain dates and deadlines related thereto, and no other or

further notice of the Auctions shall be required.

      NOW, THEREFORE, IT IS ORDERED, ADJUDGED AND DECREED THAT:

       1.      All objections, statements, and reservations of rights to the relief granted herein

that have not been withdrawn with prejudice, waived, or settled are overruled and denied on the

merits with prejudice.

       2.      The Trustee is authorized, with the assistance of Tanzon360 and his other advisors,

to market, solicit Bids, and conduct Auctions, if necessary, for the IP Assets and the Remaining

Assets in accordance with this Order to sell the Assets free and clear of liens, claims, charges,

encumbrances and interests pursuant to 11 U.S.C. § 363(b) and (f), with all valid and perfected

liens attaching to the proceeds of the Sales to the same extent and priority as such liens

encumbered the Assets on the date of the Sales, subject to the Trustee’s avoidance powers and

any other claims and causes of action the Debtor’s estate or FSS may have against any lienholder.

       3.      The Trustee is authorized to take all actions necessary to close (i) the Sale of the IP

Assets and any other Remaining Assets following the conclusion of the IP Assets Auction, if any,

and the filing of a notice of successful bidder, including entering into any purchase agreement and

(ii) the Sale of the Remaining Assets following the conclusion of the Remaining Assets Auction,

if any, including entering into any necessary purchase agreements or issuing invoices, as

applicable, in connection with the Asset Sales.

       4.      The Trustee shall hold all cash of FSS, including all cash generated from the

Auctions (if any) and Sales of the Assets, pending further order of the Court regarding its

disposition.




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                           I. IMPORTANT DATES AND DEADLINES

       5.       Timeline. The following dates and deadlines regarding the Auctions and Sales are

hereby established, subject to the right of the Trustee to modify the following dates, provided

notice is given in accordance with the terms of this Order:

                Event or Deadline            Date and Time

                IP Assets Bid Deadline       November 8, 2024, at 2:00 p.m. (prevailing
                                             Central Time) as the deadline (the “IP Assets Bid
                                             Deadline”) by which all binding sealed bids must be
                                             actually received by the Trustee for the sale of the IP
                                             Assets and any Remaining Assets in connection with
                                             the sale of the IP Assets.
                IP Assets Auction (if        The “IP Assets Auction”, if any, will be held on
                applicable)                  November 13, 2024, at 10:30 a.m. (prevailing
                                             Central Time) through Tranzon360’s selected
                                             online auction platform, for the sale of the IP Assets,
                                             subject to rescheduling or cancellation by the
                                             Trustee in his reasonable discretion.
                Remaining Assets Auction     The “Remaining Assets Auction”, if any, will be
                (if applicable)              held on December 10, 2024, at 10:30 a.m.
                                             (prevailing Central Time) through Tranzon360’s
                                             selected online auction platform, for the sale of the
                                             Remaining Assets or any unsold IP Assets, subject to
                                             rescheduling or cancellation by the Trustee in his
                                             reasonable discretion.



                                    II. BIDDING PROCEDURES

       6.       To participate in the bidding process for the IP Assets or otherwise participate in

the IP Assets Auction, a person or entity interested in purchasing the IP Assets, along with any

other Remaining Assets of FSS in connection with the IP Assets Auction (each a “Potential

Bidder”) must deliver or have previously delivered to the Trustee the following (the “Bid

Requirements”) in connection with its sealed bid (each a “Sealed Bid”):

            •   Confidentiality Agreement: an executed confidentiality agreement in form and
                substance acceptable to the Trustee;


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           •   Identity: Each Bid must fully disclose the identity of each entity and each entity’s
               shareholders, partners, investors, and ultimate controlling entities that will be
               bidding for or purchasing the applicable Assets or otherwise participating in
               connection with such Sealed Bid, and the complete terms of any such participation,
               along with sufficient evidence that the Potential Bidder is legally empowered to
               complete the transactions on the terms contemplated by the parties. Each Sealed
               Bid must also include contact information for the specific person(s) whom
               Tranzon360, Porter Hedges LLP, and Jones Murray LLP should contact regarding
               such Bid;

           •   Identity of Assets and Purchase Price: Each Sealed Bid must clearly state which
               of the Assets the Potential Bidder seeks to acquire. Each Sealed Bid must clearly
               set forth the purchase price to be paid, including cash and non-cash components, if
               any (collectively, the “Purchase Price”). The Purchase Price should be a specific
               amount in U.S. Dollars (not a range);

           •   Good Faith Deposit: Each Sealed Bid must be accompanied by a cash deposit
               equal to ten percent (10%) of the Purchase Price of such Sealed Bid, submitted by
               wire transfer of immediately available funds to an interest-free separate segregated
               account of FSS to be identified and established by the Trustee (the “Good Faith
               Deposit”). To the extent a Qualified Bid (as defined below) is modified before,
               during, or after the Auction in any manner that increases the Purchase Price
               contemplated by such Qualified Bid, the Trustee reserves the right to require that
               such Qualified Bidder (as defined below) increase its Good Faith Deposit so that it
               equals ten percent (10%) of the increased Purchase Price; provided, however, that
               the Trustee may, on a case-by-case basis, elect to waive the requirement that a
               Qualified Bidder deliver the initial Good Faith Deposit if such Qualified Bidder
               otherwise provides the Trustee with sufficient evidence satisfactory to the Trustee,
               in his reasonable business judgment, that such Qualified Bidder has sufficient
               internal resources or has received sufficient non-contingent debt funding
               commitments to consummate the proposed Sale transaction and to fully satisfy the
               Qualified Bidder’s Purchase Price and other obligations under its Sealed Bid;

           •   Committed Financing: Each Sealed Bid must include committed financing,
               documented to the Trustee’s reasonable satisfaction, that demonstrates the Potential
               Bidder has sufficient funding commitments to satisfy such Potential Bidder’s
               Purchase Price and other obligations under its Sealed Bid, including the identity
               and contact information of the specific person(s) or entity(s) responsible for such
               committed financing whom Tranzon360, Porter Hedges LLP, or Jones Murray LLP
               should contact regarding such committed financing. Such funding commitment
               shall not be subject to any internal approval or diligence requirements and shall
               have covenants and conditions reasonably acceptable to the Trustee. The Trustee
               may in his reasonable business judgment waive this condition on a case-by-case
               basis;

           •   Contingencies; No Financing or Diligence Outs: A Sealed Bid shall not be
               conditioned on the obtaining or the sufficiency of financing, any internal approval,

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               or on the outcome or review of due diligence. Each Sealed Bid must identify with
               particularity any conditions or material issues that may affect certainty of closing
               within the proposed timelines. The Potential Bidders are expected to have
               completed all of their due diligence by the IP Assets Bid Deadline, including all
               business, legal, accounting, title, and other confirmatory diligence. The extent and
               nature of any remaining due diligence should be set forth in a specific list attached
               to each Sealed Bid;

           •   As-Is, Where-Is: Each Sealed Bid must include a written acknowledgement and
               representation that the Potential Bidder: (i) has had an opportunity to conduct any
               and all due diligence prior to making its offer; (ii) has relied solely upon its own
               independent review, investigation, and/or inspection of any documents and/or the
               Assets in making its Sealed Bid; and (iii) did not rely upon any written or oral
               statements, representations, promises, warranties, or guaranties whatsoever,
               whether express, implied, by operation of law, or otherwise, regarding the
               completeness of any information provided in connection therewith, except as
               expressly stated in the Potential Bidder’s proposed purchase agreement;

           •   Authorization: Each Sealed Bid must contain evidence that the Potential Bidder
               has obtained any necessary authorization or approval with respect to the submission
               of its Sealed Bid and the consummation of the Sale contemplated by such Sealed
               Bid;

           •   Irrevocable: A Potential Bidder’s Sealed Bid must be binding and irrevocable
               unless and until the Trustee accepts a higher bid and such Potential Bidder is not
               selected as the Backup Bidder (as defined herein);

           •   No Fees: Each Potential Bidder presenting a Sealed Bid will bear its own costs and
               expenses (including legal fees) in connection with the proposed Sale, and by
               submitting its Sealed Bid is agreeing to refrain from and waive any assertion or
               request for a breakup fee, transaction fee, termination fee, expense reimbursement,
               or any similar type of payment or reimbursement on any basis, including under
               section 503(b) of the Bankruptcy Code;

           •   Adherence to Bidding Requirements: By submitting its Sealed Bid, each
               Potential Bidder is agreeing to abide by and honor the terms of these Bid
               Requirements and this Order and agrees not to submit a bid or seek to reopen the
               Sale process or the IP Assets Auction (if held) after conclusion of the selection of
               the Successful Bidder (as defined herein). By submitting its Sealed Bid, each
               Potential Bidder is agreeing to comply in all respects with the Bankruptcy Code
               and any applicable non-bankruptcy law;

           •   Backup Bid: Each Bid shall provide that the Potential Bidder will serve as a backup
               bidder (the “Backup Bidder”) if the Potential Bidder’s bid is the next highest or
               otherwise best Bid;



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              •   Requests for Information: Each Potential Bidder shall comply with all reasonable
                  requests for information and due diligence access by the Trustee or his advisors
                  regarding any of the information required to be provided under these Bid
                  Requirements, including the ability of such Potential Bidder, as applicable, to
                  consummate a proposed Sale.

        7.        Only Sealed Bids for the Assets fulfilling all of the preceding Bid Requirements, at

the Trustee’s reasonable discretion, may be deemed “Qualified Bids”, and only those parties

submitting Qualified Bids, at the Trustee’s reasonable discretion, may be deemed “Qualified

Bidders”; provided however, that the Trustee’s right to modify the foregoing Bid Requirements,

to modify any deadlines in paragraph 4 of this Order, to modify any procedures at the IP Assets

Auction (if any), and/or to terminate discussions with any Potential Bidders at any time are fully

preserved to the extent not materially inconsistent with this Order.

        8.        No later than five (5) business days following the IP Assets Bid Deadline, the

Trustee shall determine which Potential Bidders are Qualified Bidders and will notify the Potential

Bidders whether Sealed Bids submitted constitute Qualified Bids, which will enable such Qualified

Bidders to participate in the IP Assets Auction (if held).

        9.        Binding Sealed Bids must be received (via email shall be acceptable) for the IP

Assets by (a) the Trustee’s bankruptcy co-counsel, Porter Hedges LLP, 1000 Main Street, Houston,

Texas 77002, Attn.: Joshua W. Wolfshohl (jwolfshohl@porterhedges.com) and Michael B.

Dearman (mdearman@porterhedges.com); (b) the Trustee’s bankruptcy co-counsel, Jones Murray

LLP,         602 Sawyer Street, Suite 400, Houston, Texas 77007, Attn: Erin Jones

(erin.jones@jonesmurray.com), (c) Tranzon, 1108A North Dixie Avenue Elizabethtown,

Kentucky 42701, Attn.: Kelly Toney (ktoney@tranzon.com), Ed Durnil (edurnil@tranzon.com)

and (d) ThreeSixy, 3075 E. Thousand Oaks Blvd., Westlake Village, California 91362, Attn: Jeff

Tanenbaum (jeff@360assetadvisors.com), in each case so as to be actually received no later than

IP Assets Bid Deadline.

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                               III. IP ASSETS AUCTION AND SALE

       10.       Only a Qualified Bidder is authorized to participate at the IP Assets Auction, if

any, for which such Qualified Bidder submitted a Qualified Bid.

       11.       Each Qualified Bidder participating at IP Assets Auction, if any, shall be required

to confirm that it has not engaged in any collusion with respect to the bidding or the Sale, and the

IP Assets Auction, if any, shall be transcribed or recorded.

       12.       The Trustee is authorized to implement such other procedures as may be

announced by the Trustee and his advisors from time to time on the record at Auction; provided

that such other procedures are (i) not inconsistent with this Order, the Bankruptcy Code, or any

other order of the Court, (ii) disclosed orally or in writing to all Qualified Bidders, and (iii)

determined by the Trustee to further the goal of attaining the highest or otherwise best offer for

the applicable IP Assets and any other Assets upon which the Qualified Bidder submitted a

Qualified Bid.

       13.       The Trustee is authorized at the IP Assets Auction (if any) to (a) determine which

Qualified Bid is the highest or otherwise best offer for the respective Assets (the “Successful

Bid”) based on their perceived competitiveness in comparison to other Bids, provided that the

Trustee may select more than one Qualified Bid to collectively serve as a Successful Bid if each

such Qualified Bid contemplates the purchase of different Assets; (b) at any time prior to the

determination by the Trustee of the Successful Bidder, reject any Bid that the Trustee determines,

is (i) inadequate or insufficient, (ii) not in conformity with the requirements of the Bankruptcy

Code or this Order, or (iii) contrary to the best interests of the Debtor’s estate, FSS and their

creditors, and (c) prior to conclusion of an Auction (if any) impose such other terms and

conditions upon bidders as the Trustee determines to be in the best interests of the Debtor’s estate,

FSS and their creditors in this bankruptcy case.

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       14.     The Trustee shall file a notice of the Successful Bid and the successful bidder (the

“Successful Bidder”) and the Backup Bidder and backup bid (the “Backup Bid”), no later than

three (3) business days following the conclusion of the IP Assets Auction (if any). The Successful

Bidder and the Trustee shall, as soon as commercially reasonable and practicable, complete and

sign all agreements, contracts, instruments, or other documents evidencing and containing the

terms upon which each such Successful Bid was made without further order of the Court.

       15.     Each Backup Bidder shall be required to keep its Qualified Bid open and

irrevocable until the closing of the transaction with the applicable Successful Bidder. The Backup

Bidder’s Good Faith Deposit shall be held in an interest-free segregated account until the closing

of the transaction with the applicable Successful Bidder. If for any reason a Successful Bidder fails

to consummate the purchase of such Assets within the time permitted after the entry of the Sale

Order, then the Backup Bidder will automatically be deemed to have submitted the Successful Bid

for such Assets, and the Backup Bidder shall be deemed a Successful Bidder for such Assets and

shall be required to consummate the Sale with the Trustee as soon as is commercially practicable

without further order of the Court; provided that the Trustee shall file a notice with the Court.

       16.     The Good Faith Deposit of a Successful Bidder shall, upon consummation of any

Sale, be credited to the purchase price paid for the applicable Assets. If a Successful Bidder fails

to consummate the Sale due to a breach or failure to perform on the part of such Successful Bidder,

then the Good Faith Deposit shall be forfeited to, and retained irrevocably by, the Trustee, and

may be used by the Trustee to pay the fees and expenses of the Trustee’s professionals, including

Tranzon360, in accordance with this Order, and the Trustee specifically reserves all rights and

remedies against the defaulting Successful Bidder, including the right to seek damages from,

and/or the specific performance of, the defaulting Successful Bidder. The Good Faith Deposit of



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any Qualified Bidders that are not Successful Bidders or Backup Bidders will be returned within

five (5) business days after the Auction or upon the permanent withdrawal of the applicable

proposed Sale, and the Good Faith Deposit of any Backup Bidder(s) will (unless such Backup

Bidder is deemed a Successful Bidder) be returned within five (5) business days after the

consummation of the applicable Sale or upon the permanent withdrawal of the applicable proposed

Sale.

         17.       If the IP Assets Auction is cancelled, then the Trustee shall file a notice with the

Court of such election within two (2) business days of the determination of such election by the

Trustee.

                           IV. REMAINING ASSETS AUCTION AND SALE

         18.       Participants at the Remaining Assets Auction must complete all of the following in

order to be a qualified buyer of any of the Remaining Assets at the Remaining Assets Auction:

               •   Register on the online bidding platform selected by Tranzon360 by providing
                   requested registrant information, including the name, address, phone number and
                   email address for the buyer;

               •   Provide a valid credit card upon registering;

               •   Agree to the posted terms and conditions of the Remaining Assets Auction and
                   Sales, which include, but are not limited to:

                      o All items sold at the Remaining Assets Auction are sold “AS-IS-WHERE-
                        IS”;

                      o Bids may not be retracted;

                      o Full payment is due by wire transfer or credit card payment within twenty-
                        four (24) hours after the close of the Remaining Assets Auction;

                      o Credit card payments are subject to a $5,000 per buyer maximum and a 4
                        percent surcharge;

                      o Purchases are subject to sales tax unless the buyer can provide sufficient
                        evidence of a qualified exemption acceptable to the Trustee and
                        Tranzon360;


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                     o Tranzon360 and the Trustee reserve the right to add, delete or group any
                       portion of the Remaining Assets into lots;

                     o Buyers will be responsible to retrieve their purchases or arrange for a third
                       party to retrieve and remove their purchases from the sale site within a
                       removal period of approximately one (1) week after the close of the
                       Remaining Assets Auction, to be more specifically indicated in the terms of
                       the Remaining Assets Auction prior to any Sale.

The Trustee’s rights to modify the foregoing requirements, to modify any procedures at the

Remaining Assets Auction (if any), to group any portion of the Remaining Assets into lots, and to

terminate discussions with any bidder at any time are fully preserved to the extent not materially

inconsistent with this Order.

       19.        If the Remaining Assets Auction is cancelled, then the Trustee shall file a notice

with the Court of such election within two (2) business days of the determination of such election

by the Trustee.

       20.        Successful bids at the Remaining Assets Auction shall be the highest or otherwise

best offer for the respective Assets based on the Trustee’s reasonable perception of the

competitiveness of such bid in comparison to other bids; provided that (a) the Trustee may set the

opening bid or reserve price for any of the Remaining Assets or lots of the Remaining Assets; (b)

remove any of the Remaining Assets from the Remaining Assets Auction (if any) at least twenty-

four (24) hours prior to the beginning of the Remaining Assets Auction (if any); and (c) prior to

conclusion of the Remaining Assets Auction (if any) impose such other terms and conditions upon

bidders as the Trustee determines to be in the best interests of the Debtor’s estate, FSS and their

creditors in this bankruptcy case.

       21.        The Trustee is authorized to implement such other procedures as may be announced

by the Trustee and his advisors from time to time prior to the Remaining Assets Auction; provided

that such other procedures are (i) not inconsistent with this Order, the Bankruptcy Code, or any


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other order of the Court, (ii) disclosed orally or in writing to all participants, and (iii) determined

by the Trustee to further the goal of attaining the highest or otherwise best offer for any of the

Remaining Assets.

                           V. SALE NOTICE AND RELATED RELIEF

       22.     The Sale Notice, substantially in the form attached hereto as Exhibit 1, is hereby

approved. Within three (3) business days after entry of this Order, the Trustee shall serve the Sale

Notice upon the Notice Parties. In addition, within five (5) business days after entry of this Order,

the Trustee will cause the Sale Notice to be posted one or more of Tranzon360’s websites to

provide notice to any other potential interested parties.

    VI. PAYMENT FROM SALE PROCEEDS OF SALE-RELATED ADMINISTRATIVE
                                EXPENSES

       23.     Tranzon360’s Commission and Reimbursement is hereby allowed pursuant to 11

U.S.C. § 503(b)(1)(A), and the Trustee is authorized to pay the Commission and Reimbursement

from the proceeds of the Sales upon closing.

       24.     The Trustee is authorized to pay compensation on all disbursements of FSS Assets,

which compensation shall be calculated as a commission consistent with 11 U.S.C. § 326, and

reimbursement of expenses, with the amounts so paid to be credited against any approved

compensation or expenses of the Trustee from the Jones estate to the extent necessary to prevent

double compensation for the same disbursements of FSS Assets.

       25.     The Trustee is authorized to pay professional fees and reimburse expenses incurred

by professionals employed by the Trustee in the Jones Case to the extent such fees and expenses

are allocable, in the Trustee’s reasonable determination, to the FSS asset sale process, with the

amounts so paid credited against any approved fees in the Jones Case to the extent necessary to

prevent double compensation for the same work.


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       26.     No person or entity shall be entitled to any expense reimbursement, break-up fees,

“topping,” termination, or other similar fee or payment, and by submitting a bid, such person or

entity is deemed to have waived their right to request or to file with this Court any request for

expense reimbursement or any fee of any nature in connection with such bid, whether by virtue of

section 503(b) of the Bankruptcy Code or otherwise; provided however, that this paragraph shall

not apply to Tranzon360’s Commission and Reimbursement in connection with the Sales,

Trustee’s fees and expenses, or the Trustee’s professionals’ fees and expenses.

                              VII.    RESERVATION OF RIGHTS

       27.     Nothing in this Order shall be deemed a waiver of any rights, remedies, or defenses

that any party has or may have under applicable bankruptcy and non-bankruptcy law or any rights,

remedies or defenses of the Debtor’s estate or FSS with respect thereto, including seeking relief

from the Court with regard to the Auctions, the Sales, and any related items (including, if

necessary, to seek an extension of any of the deadlines in this Order).

       28.     Nothing in this Order modifies or shall be deemed to modify the validity or priority

of any lien or other property interest.

       29.     The Trustee’s right is fully reserved, in his reasonable business judgment and in a

manner consistent with his duties and applicable law, to modify or waive any procedures or

requirements with respect to all Potential Bidders, Qualified Bidders or to announce at an Auction

modified or additional procedures for such Auction, and in any manner that will best promote the

goals of the bidding process, or impose, before the conclusion of the consideration of bids or an

Auction (if held), additional customary terms and conditions on the sale of the IP Assets or the

Remaining Assets, as applicable, including without limitation: (a) extending the deadlines set forth

in the procedures for submitting Sealed Bids; (b) adjourning any Auction; (c) modifying the



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Auction and Sale Procedures or adding procedural rules that are reasonably necessary or advisable

under the circumstances for conducting the Auction; (d) canceling any Auction; and (e) rejecting

any or all Sealed Bids, Qualified Bids, or any bids at the Remaining Assets Auction. For the

avoidance of doubt, the Trustee reserves the right, at any point prior to the selection of the

Successful Bidder at the IP Assets Auction or successful bidders at the Remaining Assets Auction,

to terminate the Sale processes contemplated hereunder with respect to any or all of the FSS Assets

and seek to sell any or all Assets by alternative means.

       30.     The Trustee may provide reasonable accommodations to any Potential Bidder(s)

with respect to the terms, conditions, and deadlines for submitting Sealed Bids and to Qualified

Bidders with respect to the terms, conditions, and deadlines of an Auction to promote further bids.

All parties reserve their rights to seek Court relief, including on an expedited basis, with regard to

the Auctions and any related items. The rights of all parties in interest with respect to the outcomes

of the Auctions are reserved.

       31.     Nothing herein authorizes the sale of any individual or personal intellectual

property rights of Alex Jones or his chapter 7 bankruptcy estate for which all parties’ rights are

expressly reserved.

       32.     All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

       33.     The Trustee is authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion.

       34.     The requirements set forth in Bankruptcy Local Rule 9013-1 are satisfied by the

contents of the Motion.




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       35.      Notwithstanding Bankruptcy Rule 6004(h), this Order shall be immediately

effective and enforceable upon entry hereof. The Court retains exclusive jurisdiction with respect

to all matters arising from or related to the implementation of this Order.



           Signed: _____________, 2024.
                  August 02,
                 September   2019
                           25, 2024
                                              HONORABLE CHRISTOPHER M. LOPEZ
                                              UNITED STATES BANKRUPTCY JUDGE




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                                     Exhibit 1

                                Form of Sale Notice




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                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                                           §
In re:                                                     § Chapter 7
                                                           §
ALEX JONES,                                                § Case No. 22-33553 (CML)
                                                           §
                    Debtor.                                § (Emergency Hearing Requested)
                                                           §
                                                           §

                          NOTICE OF AUCTION FOR THE
          SALE OF ASSETS OF FREE SPEECH SYSTEMS, LLC FREE AND CLEAR
            OF ANY AND ALL CLAIMS, INTERESTS, AND ENCUMBRANCES

        PLEASE TAKE NOTICE that Christopher R. Murray, Chapter 7 Trustee for the
bankruptcy estate of Alex Jones (the “Trustee”) is soliciting separate offers for a transaction or
transactions, for the purchase of the IP Assets and/or the Remaining Assets consistent with the
order [Docket No. [●]] (the “Order”)1 entered by the United States Bankruptcy Court for the
Southern District of Texas (the “Court”) on [●], 2024. All interested bidders should carefully
read the Order. To the extent that there are any inconsistencies between this notice and the Order,
the Order shall govern in all respects.

Copies of the Order or other documents related thereto are available upon request to co-
counsel for the Trustee, Porter Hedges LLP, Joshua W. Wolfshohl
(jwolfshohl@porterhedges.com) and Michael B. Dearman (mdearman@porterhedges.com)
or Kelly Toney (ktoney@tranzon.com), Ed Durnil (edurnil@tranzon.com) and Jeff
Tanenbaum (jeff@360assetadvisors.com).

        PLEASE TAKE FURTHER NOTICE that the Qualified IP Assets Bid Deadline for the
IP Assets and any other Remaining Assets the potential buyer seeks to acquire in connection with
the acquisition of the IP Assets, is November 8, 2024, at 2:00 p.m. (prevailing Central Time),
and that any person or entity who wishes to participate in the IP Assets Auction (which, for the
avoidance of doubt, may include any other Assets a potential buyer seeks to acquire in connection
with the acquisition of the IP Assets) must comply with the participation requirements, bid
requirements, and other requirements set forth in the Order and as required by the Trustee in his
discretion.



1
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion for
    Entry of an Order (I) Authorizing and Approving the Auction and Sale of Assets of Free Speech Systems, LLC Free
    and Clear of All Liens, Claims and Encumbrances and (II) Granting Related Relief [Docket No. ●] or the Order, as
    applicable.



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       .

       PLEASE TAKE FURTHER NOTICE that the Trustee intends to conduct the IP Assets
Auction, at which time he will consider qualifying bids submitted to the Trustee and his
professionals, by and pursuant to the Order, beginning on November 13, 2024, at 10:30 a.m.
(prevailing Central Time) through Tranzon360’s selected online auction platform.

        PLEASE TAKE FURTHER NOTICE that the Trustee intends to conduct the Auction
for the Remaining Assets, at which time he will consider bids submitted to the Trustee and his
professionals, by and pursuant to the Order, beginning on December 10, 2024, at 10:30 a.m.
(prevailing Central Time) through Tranzon360’s selected online auction platform.

        PLEASE TAKE FURTHER NOTICE that the Trustee reserves the right to modify the
procedures for bidding and Auctions and/or to terminate discussions with any Potential Bidders
at any time, to the extent not materially inconsistent with the Order.

         PLEASE TAKE FURTHER NOTICE that copies of the Motion and Order, as well as
all related exhibits, are available: (a) free of charge upon email request to Porter Hedges LLP,
Joshua W. Wolfshohl (jwolfshohl@porterhedges.com) and Michael B. Dearman
(mdearman@porterhedges.com)           or     (b) for   a   fee   via    PACER       by   visiting
http://www.txs.uscourts.gov.

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Dated: [____________], 2024
       Houston, Texas


                                               Respectfully submitted,

                                         By: /s/ Joshua W. Wolfshohl
                                            Joshua W. Wolfshohl (Bar No. 24038592)
                                            Michael B. Dearman (Bar No. 24116270)
                                            Jordan T. Stevens (Bar No. 24106467)
                                            Kenesha L. Starling (Bar No.24114906)
                                            PORTER HEDGES LLP
                                            1000 Main Street, 36th Floor
                                            Houston, Texas 77002
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                                            Facsimile: (713) 226-6248
                                            jwolfshohl@porterhedges.com
                                            mdearman@porterhedges.com
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                                            kstarling@porterhedges.com

                                            and

                                            Erin E. Jones (TX 24032478)
                                            JONES MURRAY LLP
                                            602 Sawyer Street, Suite 400
                                            Houston, Texas 77007
                                            Telephone: (832) 529-1999
                                            Fax: (832) 529-3393
                                            erin@jonesmurray.com

                                            Counsel for Christopher R. Murray, Chapter
                                            7 Trustee




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